                         Case 1:14-cr-00033-DSC Document 49 Filed 02/18/16 Page 1 of 9
AO 24SB (Rev. 10/1S) Judgment in a Criminal Case
                     Sheet I




                                          United States District Court
                                                      Western District of Pennsylvania

              UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                   v.

                            KIRK NESSET
                                                                               Case Number: 1:14-cr-00033-DSC-1

                                                                               USM Number: 35379-068

                                                                                Meagan F. Temple & Michael J. Bruzzese
                                                                               Defendant's Attorney
THE DEFENDANT:

0 pleaded guilty to count(s)            1.2&3

D pleaded nolo contendereto count(s)
   which was accepted by the court.
• was found guilty oncount(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                    Offense Ended               Count

 See Page 2




       The defendant is sentenced as provided in pages 2 through                      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
• The defendant hasbeen found notguilty on count(s)
D Count(s)                                             •   is   Dare dismissed on the motion of the United States.

        Itisordered that the defendant must notify the United States attorney for this district within 30days ofany change ofname, residence,
ormailing address until allfines, restitution, costs, and special assessments imposed bythis judgment arefully paid. Ifordered topay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                       2/8/2016
                                                                      Date of Imposition of Judgment


                                                                       s/David Stewart Cercone
                                                                      Signature ofJudge




                                                                       David Stewart Cercone, U.S. District Judge
                                                                      Name and Title of Judge


                                                                       2/18/2016
                                                                      Date
                        Case 1:14-cr-00033-DSC Document 49 Filed 02/18/16 Page 2 of 9
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                       Sheet IA

                                                                                                   Judgment—Page   ^     of         M
DEFENDANT:           KIRK NESSET
CASE NUMBER:             1:14-cr-00033-DSC-1


                                          ADDITIONAL COUNTS OF CONVICTION

Title & Section                   Nature of Offense                                            Offense Ended           Count

18 USC Sections 2252              Distribution of material depicting the sexual exploitation    10/31/2014              One(1)
(a) (2) and 2252 (b) (1)          of a minor



18 USC Sections 2252              Receipt of material depicting the sexual exploitation of      10/31/2014              Two (2)
(a) (2) and 2252 (b)(1)           a minor


18 USC Sections 2252              Possession of material depicting the sexual exploitation      10/31/2014              Three (3)
(a) (4) (B) and 2252              of a minor
(b)(2)
                         Case 1:14-cr-00033-DSC Document 49 Filed 02/18/16 Page 3 of 9
AO 24SB (Rev. 10/15) Judgment in Criminal Case
                       Sheet2 — Imprisonment
                                                                                                       Judgment — Page   3       of   °#_
 DEFENDANT: KIRKNESSET
 CASE NUMBER: 1:14-cr-00033-DSC-1

                                                               IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

     76 months of incarceration at count one and 76 months of incarceration at count two, to run concurrently; no penalty is
     imposed at count three.



       0   The court makes the following recommendations to the Bureau of Prisons:

     It is recommended that defendant be incarcerated at FCI Safford or as close as possible to Prescott, Arizona, for family
     considerations.



       0   The defendant is remanded to the custodyof the UnitedStates Marshal.

       D   The defendant shall surrender to the United States Marshal for this district:

           •   at                                 •     a.m.     •   p.m.       on                                           .
           D as notified by the United States Marshal.

       D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           •   before 2 p.m. on                                             .
           D   as notified by the United States Marshal.
           •   as notified by the Probation or Pretrial Services Office.


                                                                     RETURN

 I have executed this judgment as follows:




           Defendant deliveredon                                                           to

 a                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                           Case 1:14-cr-00033-DSC Document 49 Filed 02/18/16 Page 4 of 9
A0 24SB (Rev. 10/15) Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                            Judgment—Page           of
 DEFENDANT:              KIRKNESSET
 CASE NUMBER: 1:14-cr-00033-DSC-1
                                                           SUPERVISED RELEASE

 Upon release from imprisonment,the defendant shall be on supervised release for a term of:
 10 years at each of counts 1 and 2, to run concurrently. No term is imposed at count 3.

         The defendantmust report to the probationoffice in the districtto whichthe defendantis releasedwithin72 hours of release fromthe
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at leasttwo periodic drugtests
 thereafter, as determined by the court.
 0        Theabove drug testing condition issuspended, based on thecourt's determination that thedefendant poses a low risk of
          future Substance abuse. (Check, ifapplicable.)

 0        The defendant shall not possess a firearm, ammunition, destructivedevice, or any other dangerousweapon. (Check, ifapplicable.)
 0        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

 r/i Thedefendant shall comply with the requirements of the Sex Offender Registration andNotification Act(42 U.S.C. § 16901, etseq)
 VJ as directed by the probation officer, theBureau of Prisons, or anystatesex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)

 D        Thedefendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION

     0      the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shallnotassociate withany persons engaged in criminal activity and shall not associate withany person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation ofany
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the probationofficer, the defendantshall notifythird partiesof risks that may be occasioned by the defendant's criminal
           record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
                         Case 1:14-cr-00033-DSC Document 49 Filed 02/18/16 Page 5 of 9
AO 245B (Rev. 10/15) Judgment in a Criminal Case
            Sheet 3A— Supervised Release
                                                                                             Judgment—Page         of
DEFENDANT: KIRK NESSET
CASE NUMBER: 1:14-cr-00033-DSC-1


                                       ADDITIONAL SUPERVISED RELEASE TERMS
 1. Defendant shall not possess a firearm, ammunition, destructive device or a dangerous weapon;
 2. Defendant shall not use or possess controlled substances except as prescribed by a licensed medical practitioner for a
 legitimate medical purpose;
 3. Defendant shall participate in a mental health treatment program and/or a sex offender treatment program as approved
 and directed by his probation officer. Defendant shall abide by all program rules, requirements and conditionsof the sex
 offender treatment program, including submission to polygraph testing to determine if he is in compliance with the
 conditions of release. The probation office is authorized to release the defendant's presentence report to the treatment
 provided if so requested;
 4. With the exception of brief, unanticipated, and incidental contacts, defendant shall not associate with children under the
 age of 18 except for family members or children in the presence of an adult who has been approved by the probation
 officer;
 5. Defendant shall not possess or access with the intent to view any materials, including pictures, photographs, books,
 writings, drawings, videos, or video games, depicting and/or describing child pornography as defined at Title 18, United
 States Code, Section 2256(8);
 6. In accordance with title 18, United States Code, Sections 3563(a)(8), 3583(d) and 4042(c)(4), and the Sex Offender
 Registration and Notification Act (SORNA) at Title 42, United States Code, Section 16901, defendant shall report the
 address at which he will reside and any subsequent change of address to the probation officer responsible for his
 supervision. Further, defendant shall register as a convicted sex offender in any state in which he resides, is employed,
 carries on a vocation, or is a student;
 7. Defendant is permitted to possess and/or use a computer and is allowed access to the internet. However, defendant is
 not permitted to use a computer, or other electronic devices, including a cell phone, to access child pornography or to
 communicate with any individual or group for the purpose of promoting sexual relations with children. Defendant shall
 consent to the installation of any hardware/software to monitor any computer, or other electronic communication or data
 storage devices used by defendant to confirm defendant's compliance with this condition. Defendant shall consent to
 periodic inspection of any such installed hardware/software to insure it is functioning properly. Defendant shall pay the
 monitoring costs as directed by the probation/pretrial services officer. Furthermore, defendant shall consent to periodic
 unannounced examinations by the probation officer of any computers, cell phones, or other electronic communication or
 data storage devices to which defendant has access, to confirm defendant's compliance with this condition. Additionally,
 defendant shall consent to the seizure and removal of hardware and data storage media for further analysis by the
 probation officer, based upon reasonable suspicion of a violation of the conditions of supervision or unlawful conduct by
 defendant. Defendant's failure to submit to the monitoring and/or search of computers and other electronic communication
 or date storage devices used by defendant may be grounds for revocation;
 8. Defendant shall provide the United States Probation Office with accurate information about his entire computer system
 (hardware/software), and any other digital media; all passwords used by the defendant and his internet service provider(s);
 and shall abide by all rules of the computer restriction and monitoring program;
 9. Defendant may use a computer in connection with any employment approved by the probation officer, provided
 defendant notifies the employer of the nature of his conviction. The probation officer shall confirm defendant's compliance
 with this notification requirement;
 10. Defendant shall submit his person, residence, place of business, computer, other digital media, and/or vehicle, to a
 warrantless search conducted and controlled by the United States Probation Office, at a reasonable time and in a
 reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release.
 Failure to submit to a search may be grounds for revocation. Defendant shall inform any other residents that the premises
 and computer may be subject to a search pursuant to this condition;
 11. Defendant shall not photograph and/or videotape any children under the age of 18 without the written consent of their
 parent or legal guardian who at the time of consent must be aware of the nature of defendant's prior criminal history and
 convictions(s) and the approval of the probation officer;
 12. Defendant shall not enter into a rental agreement and/or purchase computers, cell phones, or electronic
 communication or data storage devices without the consent of the probation officer. Defendant likewise shall not make
 excessive and/or unexplained purchases of items ordinarily related to children under the age of 18, without approval of the
 probation officer
                        Case 1:14-cr-00033-DSC Document 49 Filed 02/18/16 Page 6 of 9
AO 245B (Rev. 10/15) Judgment in a Criminal Case
          Sheet3B— Supervised Release
                                                                                           Judgment—Page    °     of
DEFENDANT:           KIRKNESSET
CASE NUMBER:            1:14-cr-00033-DSC-1


                           ADDITIONAL STANDARD CONDITIONS OF SUPERVISION



 13. Defendant shall not frequent and/or loiter within 500 feet of places where children congregate on a regular basis, such
 as, but not limited to, schools; playgrounds; children's toy and/or clothing stores; video arcades; daycare centers;
 swimming pools; zoos; amusement parks, or other places primarily used or that can reasonably be expected to be used by
 children under the age of 18, without prior permission of the probation officer; and
 14. Pursuant to 28 C.F.R. § 28.12. the DNA Fingerprint Act of 2005 and the Adam Walsh Child Protection and Safety Act
 of 2006, defendant shall cooperate in the collection of DNA as directed by the Probation Office.




 These are in addition to any other conditions imposed by this Judgment
 Upon finding a violation of probation or supervised release, I understand that the Court may
 (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
 All of the conditions listed in this order have been read to me. I fully understand the conditions and have been provided a
 copy of them.




 Defendant's Signature                             Date




 Probation Officer's Signature                     Date
                         Case 1:14-cr-00033-DSC Document 49 Filed 02/18/16 Page 7 of 9
AO 245B (Rev. 10/15) Judgment in a Criminal Case
         Sheet S — Criminal Monetary Penalties
                                                                                                             Judgment—Page          7     of
 DEFENDANT:             KIRK NESSET
 CASE NUMBER:             1:14-cr-00033-DSC-1
                                                   CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                                Fine                               Restitution
 TOTALS             $    300.00                                               $                                  $    78,900.00



 •     The determination of restitution isdeferred until                      . An Amended Judgment in a Criminal Case(A0 245Q will be entered
       after such determination.


 •     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederalIvictims
                                                                                                                          -'"' must"L—!J
                                                                                                                                       be paid
       before the United States is paid.

     Name of Payee                                                                    Total Loss*        Restitution Ordered       Priority or Percentage

     See Order of 2/10/2016 (Document No. 48)                                              $78,900.00            $78,900.00




TOTALS                                $                 78,900.00                      $                78,900.00


 D      Restitution amount ordered pursuant to plea agreement S

 D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date ofthe judgment, pursuant to 18U.S.C. § 3612(f). AHof the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 0      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        0   the interest requirement is waived for the         •       fine       0      restitution.

        •   the interest requirement for the        •   fine       •     restitution is modified as follows:

 * Findings for the total amount oflosses are required under Chapters 109A, 110,110A, and 113A ofTitle 18 for offenses committed on or after
 September
  ' •        13, 1994, but before April "3,1996.
                                        23,
                      Casein1:14-cr-00033-DSC
AO 245B (Rev. 10/15)Judgment  a Criminal Case        Document 49 Filed 02/18/16 Page 8 of 9
        Sheet SA — Criminal Monetary Penalties
                                                                                            Judgment—Page         of
DEFENDANT:       KIRK NESSET
CASE NUMBER: 1:14-cr-00033-DSC-1


                  ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

 Defendant shall pay restitution to certain victims in the total amount of $78,900.00 and in accordance with the order of
 February 10,2016 (Document No. 48), which is incorporated herein.
                        Case
AO 245B (Rev. 10/15) Judgment     1:14-cr-00033-DSC
                              in aCriminal Case                    Document 49 Filed 02/18/16 Page 9 of 9
          Sheet 6 — Schedule of Payments
                                                                                                             Judgment — Page             of
DEFENDANT:            KIRK NESSET
CASE NUMBER: 1:14-cr-00033-DSC-1


                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, paymentof the total criminal monetarypenalties is due as follows:

A    0      Lump sum payment of $          300.00              due immediately, balance due

            •     not later than                                     ,or
            •      in accordance           DC,      •    D,    •     E, or     •    F below; or

B    •      Payment to begin immediately (may be combined with               • C,       • D, or      QF below); or

C    •      Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                         (e.g., months oryears), to commence                        (e.g., 30 or60 days) after the date of this judgment; or

D    •      Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                            (e.g., months oryears), to commence                       (e.g., 30 or60 days) after release from imprisonment to a
            term of supervision; or

E    •      Payment during the term of supervised release will commence within                           (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

     D      Special instructions regarding the payment of criminal monetary penalties:




Unless thecourt hasexpressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties isdue during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are madeto the clerkof the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

0    The defendant shall forfeit the defendant's interest in the following property to the United States:
         Defendant's interest in the property identified in the preliminary order of forfeiture entered on April 13, 2015 (Document
         No. 31) is hereby forfeited to the United States.


Payments shall be applied in the following order: (1)assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(S) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
